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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

SHARON DIXON                                  )
    Plaintiff                                 )
                                              )
       v.                                     ) CASE NUMBER CV-05-326-W
                                              )
RAVE MOTION PICTURES, INC.,                   )       (JURY DEMAND)
 Et. al,                                      )
        Defendants                            )

     MOTION FOR RECONSIDERATION AND RESETTING OF HEARING

       COMES NOW the plaintiff, by and through undersigned counsel, and moves the

Court for reconsideration of its Order entered on this date denying her Motion to Compel

Discovery Respons
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counsel for his failure to effect the conference call on the motion which was scheduled

for 8:15 a.m. Counsel had a family emergency this morning which prevented him from

getting to his office in time to initiate the call as ordered. Counsel contacted the Court as

soon as he was able to get to his office, but learned the motion had been denied.

       The plaintiff respectfully asks the Court to set aside its Order denying her motion

and to reset the matter of the disputed discovery requests for a new hearing date.

       Respectfully submitted this 2nd day of March 2006.

                                                      /S/ JIMMY JACOBS
                                                      JIMMY JACOBS (JAC051)
                                                      Attorney for Plaintiff
                                                      143 Eastern Boulevard
                                                      Montgomery, Alabama 36117
                                                      (334) 215-1788




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                              CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was transmitted to
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                                                                        ’sCM/  ECFs  y stem
on this the 2nd day of March, 2006.

                                                       /s/Jimmy Jacobs
                                                      JIMMY JACOBS (JAC051)
                                                      Attorney for Plaintiff


COUNSEL OF RECORD:

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